  Case 1:19-cv-00433-CFC Document 7 Filed 03/25/19 Page 1 of 1 PageID #: 71



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE
VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                      Plaintiff,                          C.A. No. 1:19-cv-00433-CFC
       v.
                                                          JURY TRIAL DEMANDED
STERIS plc,
                      Defendant.

                      STIPULATION AND PROPOSED ORDER TO
                     EXTEND TIME TO ANSWER THE COMPLAINT

       IT IS HEREBY STIPULATED by the undersigned counsel for Plaintiff Virtual Immersion

Technologies LLC, subject to the approval of the Court, that Defendant STERIS plc’s time to

answer, move or otherwise respond to the Complaint in this action shall be extended to and

including May 15, 2019. The reason for this extension is to allow Defendant additional time to

investigate the allegations of the Complaint. The requested extension should not disrupt the

schedule in this case, as a Rule 16 conference has not been set.

Dated: March 25, 2019                        DEVLIN LAW FIRM LLC
                                              By: /s/ Timothy Devlin
                                              Timothy Devlin (No. 4241)
                                              tdevlin@devlinlawfirm.com
                                              Patrick R. Delaney (pro hac vice)
                                              pdelaney@devlinlawfirm.com
                                              1306 N. Broom Street, 1st Floor
                                              Wilmington, Delaware 19806
                                              Telephone: (302) 449-9010

                                              Attorneys for Plaintiff Virtual Immersion
                                              Technologies LLC

               SO ORDERED this ____ day of March, 2019.


                              Honorable Colm F. Connolly
                              U.S. District Court Judge

                                                    -1-
